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                                                            U.S. Department of Justice




                                                            950 Pennsylvania Avenue NW
                                                            Washington, D.C. 20530

                                                            June 7, 2024

VIA CM/ECF
Hon. Dale E. Ho
U.S. District Judge
U.S. District Court for the Southern District of New York
Thurgood Marshall United States Courthouse
40 Foley Square
New York, NY 10007

Re: United States v. M/Y Amadea, No. 23-cv-9304 (DEH)

Dear Judge Ho,

We write regarding the Government’s recent letter motion (ECF No. 115) to file Hague-related
documents under temporary seal, pursuant to paragraph 9 of the Protective Order and Rule 6(d)
of Your Honor’s Individual Rules. The Government has notified the three UK witnesses about
the temporary sealing and their right to request permanent sealing. However, regarding the
French witness, the Government has been advised that the only permissible way to contact this
witness and provide the requisite notice is through a formal Mutual Legal Assistance (MLA)
request to the French authorities. The Government has commenced the MLA process, but
completing it will take several more weeks at least. Accordingly, the Government respectfully
requests that the French witness’s name and address remain under seal for another 45 days from
the filing of this letter motion. The Government will notify the Court, before the end of the
requested 45-day period, whether notice has been effectuated.


                                                   Respectfully Submitted,


                                                   DAMIAN WILLIAMS
                                                   United States Attorney
                                                   Southern District of New York
                                                   U.S. Department of Justice

                                                   By: /s/ Jennifer Jude
                                                   JENNIFER JUDE
                                                   Assistant U.S. Attorney
                                                   Southern District of New York
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                                         MARGARET A. MOESER
                                         Acting Chief
                                         Money Laundering and Asset Recovery
                                         Section, Criminal Division
                                         U.S. Department of Justice

                                         By: /s/ Joshua L. Sohn
                                         JOSHUA L. SOHN
                                         Trial Attorney
                                         Money Laundering and Asset Recovery
                                         Section


                                         JENNIFER KENNEDY GELLIE
                                         Executive Deputy Chief
                                         Counterintelligence and Export Control
                                         Section, National Security Division
                                         U.S. Department of Justice

                                         By: /s/ Yifei Zheng
                                         YIFEI ZHENG
                                         Trial Attorney
                                         Counterintelligence and Export Control
                                         Section

cc: Claimants’ counsel (by ECF)
